       Case 21-31935-KLP          Doc 12    Filed 08/13/21 Entered 08/13/21 08:36:11            Desc Main
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                                   UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF VIRGINIA
                                          RICHMOND DIVISION


In re: Alexander Gary Horace Harris, Debtor )                     Case No. 21-31935-KLP
                                            )                             Chapter 13


                     NOTICE OF HEARING AND OBJECTION TO CONFIRMATION

       COMES NOW the Chapter 13 Trustee, Suzanne E. Wade, and moves this Court to deny confirmation of

the plan dated June 18, 2021, for the cause as follows:


       1. The Debtor filed this Chapter 13 Petition, now pending in the United States Bankruptcy Court, Eastern

             District of Virginia, Richmond Division, on June 17, 2021 under 11 U.S.C. Chapter 13.

       2. This Objection is filed pursuant to 11 U.S.C. § 1325.

       3. The above-filed Chapter 13 case is not eligible for confirmation due to the Debtors’ failure to provide

             proof of filing all required tax returns pursuant to 11 U.S.C. §1325(a)(9). The Trustee requests the

             Debtor forward copies of his state and federal individual income tax returns for the 2019 tax year.

       4. In addition, the Trustee requests the Debtor forward copies of all paystubs from his new employment.


       WHEREFORE, for the reasons stated herein, the Chapter 13 Trustee respectfully moves the Court to deny

confirmation of the Debtor’s proposed Chapter 13 Plan, and for such further and other relief as the Court deems

necessary.


Date: August 13, 2021                                         /s/ Suzanne E. Wade___
                                                                 Chapter 13 Trustee




Suzanne E. Wade, Chapter 13 Trustee
Virginia State Bar Number 31868
7202 Glen Forest Dr., Suite 202
Richmond, Virginia 23226
(804) 775-0979
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                                   CERTIFICATE OF SERVICE

       I hereby certify a true copy of the foregoing NOTICE OF HEARING AND OBJECTION TO
CONFIRMATION was served by first-class mail, postage prepaid, this 13th day of August, 2021, upon the
Debtor, Alexander Gary Horace Harris., at 4304 Delmont Street, Richmond, VA 23222. Debtor’s counsel,
Veronica D. Brown-Moseley, Esquire, was served by electronic notification to ecf@bolemanlaw.com.

                                                            /s/ Suzanne E. Wade___
                                                                 Chapter 13 Trustee
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                                  UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF VIRGINIA
                                         RICHMOND DIVISION

In re: Alexander Gary Horace Harris, Debtor )                     Case No. 21-31935-KLP
                                            )                             Chapter 13
                                            )
        4304 Delmont Street                 )
        Richmond, VA 23222                  )
                                            )
           XXX-XX -3586                     )

                              NOTICE OF OBJECTION TO CONFIRMATION

       Suzanne E. Wade, Chapter 13 Trustee, has filed papers with the Court objecting to the confirmation of
your Chapter 13 Plan dated June 18, 2021.

       Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult
one.

       If you do not want the Court to grant the relief sought in the Objection, or if you want the Court to consider
your views on the Objection, then on or before three (3) days before the date of the hearing, you or your attorney
must:

       File with the Court, at the address shown below, a written response pursuant to Local Bankruptcy
       Rule 9013-1(H). If you mail your response to the Court for filing, you must mail it early enough
       that the Court will receive it on or before the date stated below.

                       Clerk of Court
                       United States Bankruptcy Court
                       701 East Broad Street, Suite 4000
                       Richmond, Virginia 23219

       You must also mail a copy to:

                       Suzanne E. Wade, Chapter 13 Trustee
                       7202 Glen Forest Dr., Suite 202
                       Richmond, Virginia 23226

       __X Attend the hearing on the Objection, scheduled to be held REMOTELY on August 25, 2021
       at 9:10 a.m.
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REMOTE HEARING INFORMATION:

Due to the COVID−19 public health emergency, no in-person hearings are being held.
This hearing will take place remotely through Zoom on the date and time scheduled herein.

To appear at the hearing, you must send, by email, a completed request form (the “Zoom Request Form”), which
is available on the Court's internet website at www.vaeb.courts.gov, on the page titled, “Temporary Emergency
Provisions Regarding ZoomGov Remote Proceeding Access Information.” Email your completed Zoom Request
Form to the email address listed for the Judge assigned to the case. Following receipt of your Zoom Request
Form, Court staff will respond to the email address from which the request was submitted with additional
information on how to participate through Zoom.

***The email address shall be used only to submit Zoom Request Forms. No other matters or requests will be
considered by Court staff, and under no circumstances will any such matters or requests be brought to the Judge’s
attention. Failure to comply with these instructions may result in appropriate action, including but not limited to
the imposition of sanctions.***

PLEASE NOTE: You MUST submit the Zoom Request Form no later than two (2) business days prior to this
hearing. Any documentary evidence the parties wish to present at the hearing must be filed with the Court in
advance of the hearing.

       If you or your attorney do not take these steps, the Court may decide that you do not oppose the relief
sought in the Objection and may enter an order granting that relief.


Date: August 13, 2021                                          /s/ Suzanne E. Wade                      .




                                                                   Suzanne E. Wade, Chapter 13 Trustee




                                        CERTIFICATE OF SERVICE

        I hereby certify a true copy of the foregoing NOTICE OF OBJECTION TO CONFIRMATION was served
by first-class mail, postage prepaid, , this 13th day of August, 2021, upon the Debtor, Alexander Gary Horace
Harris., at 4304 Delmont Street, Richmond, VA 23222. Debtor’s counsel, Veronica D. Brown-Moseley, Esquire,
was served by electronic notification to ecf@bolemanlaw.com.



                                                                     /s/ Suzanne E. Wade___
                                                                         Chapter 13 Trustee


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